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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF GEORGIA
                            ATLANTA DIVISION

GEORGIA STATE CONFERENCE OF
THE NAACP; GEORGIA COALITION
FOR THE PEOPLE’S AGENDA, INC.;
and NEW GEORGIA PROJECT, INC.,
                 Plaintiffs,
                                                 Civil Action No. 1:24-cv-04546-
      v.                                                    ELR
BRIAN KEMP, Governor of the State of
Georgia, in his official capacity, and
BRAD RAFFENSPERGER, Secretary of
State of Georgia, in his official capacity,
                 Defendants.


        PLAINTIFFS’ RESPONSE IN OPPOSITION TO PARTY
     ORGANIZATIONS’ ABBREVIATED MOTION TO INTERVENE

      Plaintiffs submit this brief response to the “abbreviated” motion to intervene

filed late last night by the Republican National Committee and Georgia Republican

Party, Inc. (collectively, “Party Organizations”). See ECF No. 17. As the Party

Organizations “intend to file a brief in support of intervention and a responsive

pleading as required by Rule 24,” Plaintiffs reserve their right to file a fulsome

opposition to that proposed motion on a timeline set by the Court. In the meantime,

at this stage, Party Organizations’ motion must be denied because it is procedurally

defective for failing to include a responsive pleading as required under Fed. R. Civ.

P. 24(c). Even if it was not procedurally defective, it should be denied on the merits
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because Party Organizations cannot make the showing necessary for either

mandatory or permissive intervention.

      To intervene as of right, the non-party bears the burden to satisfy each of four

elements: (1) it must file a timely application; (2) it must have a cognizable “interest

relating to the property or transaction which is the subject of the action”; (3) it must

be “so situated that disposition of the action, as a practical matter, may impede or

impair [its] ability to protect that interest”; and (4) its interests must be “represented

inadequately by the existing parties to the suit.” Stone v. First Union Corp., 371 F.3d

1305, 1308–09 (11th Cir. 2004) (citing Fed. R. Civ. P. 24(a)).

      Party Organizations cannot carry their burden to establish these elements.

They cannot identify a “direct, substantial, [and] legally protectable” cognizable

interest in opposing Plaintiffs’ requested relief, which is an extension of Georgia’s

voter registration deadline in light of the widespread destruction and disruption

caused by Hurricane Helene. Huff v. Comm’r, 743 F.3d 790, 796 (11th Cir. 2014)

(quote omitted). Plaintiffs are non-partisan, non-profit organizations in Georgia that

share a commitment to protecting the right to vote. They bring this emergency

litigation to safeguard the fundamental right to vote for all eligible, prospective

Georgia voters. They seek statewide relief because of Hurricane Helene’s statewide

impact. They do not seek to advantage any particular community, constituency, or

group. And they do not seek to force the State to register any voters who are not

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otherwise qualified to vote. Alleviating the effects of a catastrophic weather event

on voter participation is not a partisan issue.

      Proposed Intervenors’ asserted argument for intervention is an interest in “the

laws and rules governing Georgia’s elections” is a vague and generalized interest

that is legally insufficient to support intervention, and one that is also inapplicable

in this case. ECF No. 17 at 2. Plaintiffs are not “challenging Georgia’s election

laws.” Id. Nor are they challenging the application of those laws to any particular

group. Plaintiffs are not challenging the termination of particular voters from voter

rolls under state law, see Black Voters Matter Fund v. Raffensperger, Doc. 42, No.

1:20-cv-4869 (N.D. Ga. Dec. 9, 2020), and they are not seeking to disrupt the ability

of some voters to cast ballots in one particular manner, see Wood v. Raffensperger,

Doc. 14, No. 1:20-cv-5155 (N.D. Ga. Dec. 28, 2020). Instead, this lawsuit is seeking

to re-open the voter registration deadline statewide because a natural disaster

prevented would-be eligible voters from registering to vote.

      Indeed, the Party Organizations’ examples of successful intervention attempts

underscore why intervention is inappropriate in this case. Five of the eight cases

cited in Party Organizations’ motion as examples of success in supposedly similar

intervention efforts, see ECF No. 17 at 2 fn.1, were part of a consolidated action

before one judge challenging Georgia’s SB 202, a sprawling amendment to

Georgia’s election code that included, among other things, restrictions on drop

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boxes, voter ID rules, and line-relief rules. See Asian Ams. Advancing Justice-

Atlanta v. Kemp, Doc. 38, No. 1:21-cv-1284 (N.D. Ga. June 4, 2021); Sixth Dist. of

the African Methodist Episcopal Church v. Kemp, Minute Order, No. 1:21-cv-1284

(N.D. Ga. June 4, 2021); Concerned Black Clergy of Metro. Atlanta v.

Raffensperger, Minute Order, No. 1:21-cv-1728 (N.D. Ga. June 21, 2021); Coal. for

Good Governance v. Raffensperger, Minute Order, No. 1:21-cv-2070 (N.D. Ga.

June 21, 2021); United States v. Georgia, Minute Order, No. 1:21-cv-2575 (N.D.

Ga. July 12, 2021); see also Vote Am. v. Raffensperger, Doc. 50, No. 1:21-cv-1390

(N.D. Ga. June 4, 2021 (challenging SB 202 restrictions and prohibitions on the

distribution of absentee applications by third-party organizations; Int’l All. of

Theater Stage Emps. Local 927 v. Lindsey, Doc. 84, No. 1:23-cv-4929 (N.D. Ga.

May 3, 2024) (challenging SB 202 absentee ballot request deadline, which concerns

already registered voters). This is not a direct challenge to Georgia’s election code.

This emergency case seeking to give all eligible Georgians the opportunity to

register to vote in light of a catastrophic weather event, without any permanent

change to Georgia’s election rules.

      For these same reasons, Party Organizations cannot show how an adverse

outcome in this litigation may or might impair their interests. The mere “suggestion”

that a movant’s “future” interests “may be impaired is too speculative to support

intervention.” Meadowfield Apartments, Ltd. v. United States, 261 F. App’x 195,

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196 (11th Cir. 2008). And they have made no argument to rebut the presumption

that Defendants will adequately protect their interests. See Burke v. Ocwen Fin.

Corp., 833 F. App’x 288, 293 (11th Cir. 2020). Furthermore, it is hard to imagine an

adequate or appropriate interest that a political party might have in preventing people

impacted by a natural disaster from registering to vote.

      Neither is permissive intervention warranted, for all the reasons set out above,

and for two additional reasons. First, permissive intervention would unduly delay

and complicate straightforward litigation that requires expedited consideration.

Injecting nonexistent partisan issues risks distracting from the core legal issues in

this case and unnecessarily delaying its timely resolution. Second, permissive

intervention would not aid the Court, and Party Organizations have not identified

any grounds to the contrary.

      For the reasons described above, Plaintiffs respectfully request that this Court

deny the Party Organizations’ motion to intervene.




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Respectfully submitted, this 9th day of October 2024.

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                                 * Motion for Admission Pro Hac Vice
                                 Forthcoming
                                 ** Motion for Admission Pro Hac Vice
                                 Pending




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